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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed February 6, 2019
                                             United States Bankruptcy Judge
 ______________________________________________________________________




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION

             IN RE:                                                              §
                                                                                 §
             REAGOR-DYKES MOTORS, LP, et al.1                                    § Case No. 18-50214-rlj-11
                                                                                 § Jointly Administered
                                         Debtors.                                §

            ORDER GRANTING REQUEST FOR EMERGENCY TELEPHONIC HEARING

                   CAME NOW TO BE CONSIDERED, the Debtors’ Request for Emergency Telephonic Hearing

        on Debtors’ Emergency Motion to Compel Global Mediation filed by Reagor-Dykes Motors, LP, Reagor-Dykes

        Imports, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes

        Plainview, LP, Reagor-Dykes Floydada, LP, Reagor-Dykes Snyder, L.P., Reagor-Dykes III LLC,

        Reagor-Dykes II LLC, Reagor Auto Mall, Ltd., and Reagor Auto Mall I LLC (collectively, “Reagor-




        1
          The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto
        Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-
        50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC (Case No. 18-50322), Reagor-Dykes II LLC (Case No.
        18-50323) and Reagor Auto Mall I LLC (Case No. 18-50325).


        REQUEST FOR EXPEDITED HEARING                                                                                          Page 1
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        Dykes” or the “Debtors”), as debtors and debtors-in-possession in the above-styled and captioned

        case. Upon consideration of the Motion and all matters brought to the Court’s attention, the Court

        finds that: (i) it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a

        core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) granting the Motion is in the best interests of

        the Debtors, their Estates, and the creditors thereof; (iv) the Debtors have shown good, sufficient,

        and sound business purpose and justification for the relief requested in the Motion; (v) proper and

        adequate notice of the Motion and the hearing thereon has been given, that no objections have been

        filed or that any such filed objections should be overruled, and that no other or further notice is

        necessary; and (vi) on the record herein and after due deliberation thereon, good and sufficient cause

        exists for granting the relief requested therein; accordingly,


                   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

                   1.   The Motion is GRANTED, on a final basis, as set forth herein.

                   2.   A hearing will be held before the Honorable Judge Robert L. Jones at the United

        States Bankruptcy Court, Room 314, 1205 Texas Avenue, Lubbock, Texas on February 7, 2019 at

        2:30 p.m. The call-in information is as follows: Conference Call Number: 877-336-1839; Access

        Code: 6477798; Security Code: 2583.

                   3.   Counsel for Movant shall serve Notice of Hearing to all interested parties involved in

        this bankruptcy case either via the Court’s ECF System, and/or United States First Class Mail,

        postage prepaid.

                   4.   The Court shall retain jurisdiction over any matter or dispute arising from or relating

        to the implementation of this Order.



                                               ### End of Order ###


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        PREPARED AND SUBMITTED BY:

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